                Case 2:19-ap-01456-WB                  Doc 25 Filed 11/12/19 Entered 11/12/19 10:48:26                         Desc
                                                        Main Document    Page 1 of 3


                     1    MORGAN, LEWIS & BOCKIUS LLP
                          Richard W. Esterkin, SBN 70769
                     2    richard.esterkin@morganlewis.com
                          300 S Grand Ave Fl 22
                     3    Los Angeles CA 90071-3132
                          Tel: (213) 612-2500
                     4    Fax: (213) 612-2501

                     5    Attorneys for
                          Amazon Logistics, Inc.
                     6

                     7

                     8                                  UNITED STATES BANKRUPTCY COURT
                     9                                   CENTRAL DISTRICT OF CALIFORNIA
                    10                                            LOS ANGELES DIVISION
                    11

                    12    In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13             SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB

                    14                                                                Chapter 11
                                     Debtors and Debtors in
                    15               Possession.
                          SCOOBEEZ, INC.,                                             Adv. No. 2:19-ap-01456-WB
                    16
                                           Plaintiff                                  PROOF OF SERVICE OF AMAZON
                    17                                                                LOGISTICS, INC.’S SUPPLEMENTAL
                                   v.                                                 OPPOSITION TO MOTION FOR
                    18                                                                PRELIMINARY INJUNCTION; AND
                          AMAZON LOGISTICS, INC.,                                     DECLARATION OF JAMES WILSON IN
                    19                                                                SUPPORT THEREOF
                                           Defendant.
                    20                                                                  Date:        November 18, 2019
                                                                                        Time:        10:00 a.m.
                    21                                                                  Place.:      United States Bankruptcy Court
                                                                                                     Edward Roybal Federal Building
                    22                                                                               255 E Temple St., Ctrm 1375
                                                                                                     Los Angeles CA 90012
                    23

                    24

                    25

                    26
                          1
                            The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                    27    Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
                          Boulevard, in Glendale, California 91214.
                    28
                                                                                 -1-
MORGAN, LEWIS &
 BOCKIUS LLP             DB2/ 37780779.1
 ATTORNEYS AT LAW
   COSTA MESA
      Case 2:19-ap-01456-WB                        Doc 25 Filed 11/12/19 Entered 11/12/19 10:48:26                                           Desc
                                                    Main Document    Page 2 of 3




                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Morgan Lewis & Bockius, LLP
 300 S Grand Ave F122, Los Angeles CA 90071-3132

A true and correct copy of the foregoing document entitled (specify): Amazon Logistics, Inc.'s Supplemental Opposition
to Motion for Preliminary Injunction: and Declaration of James Wilson in Support Thereof


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 11/11/2019        , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 See Service List, attached.



                                                                                         ~    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                      , I served the following persons andlor entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                        D Service         information continued on attached page

3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 andlor controlling LBR, on (date)     11/12/2019       , I served
the following persons andlor entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission andlor email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Hon. Julia W. Brand, Suite 1382
U.S. Bankruptcy Court, Roybal Federal Building
255 E Temple St, Los Angeles CA 90012

                                                                                        D Service         information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

11/12/2019         Renee Robles                                                                       ~                 ~
 Date                           Printed Name                                                      Signature



            This form is mandatory.   It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                             F 9013-3.1.PROOF .SERVICE
Case 2:19-ap-01456-WB         Doc 25 Filed 11/12/19 Entered 11/12/19 10:48:26   Desc
                               Main Document    Page 3 of 3



2:19-ap-01456-WB Service List

Richard WEsterkin on behalf of Defendant Amazon Logistics, Inc.
richard.esterkin@morganlewis.com

John-Patrick M Fritz on behalf of Creditor Committee Official Committee of
Unsecured Creditors jpf@lnbyb.com, JPFLNBYB@ecfinforuptcy.com

Ashley MMcDow on behalf of Plaintiff Scoobeez, Inc.
amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com,jsimon@foley.corn

Shane J Moses on behalf of Plaintiff' Scoobeez, Inc.
smoses@foley.com

David L. Neale on behalf of Creditor Committee Official Committee of
Unsecured Creditors dln@lnbyb.com

United States Trustee (LA)
ustpregion16.1a.ecf@usdoj.gov

Eric D Winston on behalf of Creditor Hillair Capital Management, LLC
ericwinston@quinnemanuel.com
